          Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 1 of 30




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA,
PENNSYLVANIA GAME COMMISSION,

                Plaintiff,

          v.                                  Case No. 1:12-CV-1567

THOMAS E. PROCTOR HEIRS TRUST and             Chief Judge Conner /
the MARGARET O.F. PROCTOR TRUST,              Chief Magistrate Judge Schwab

                Defendants.

               STATEMENT OF UNDISPUTED MATERIAL FACTS
                 IN SUPPORT OF DEFENDANTS’ MOTION FOR
                      PARTIAL SUMMARY JUDGMENT
      Pursuant to Local Civil Rule 56.1, Plaintiffs Trustees of the Thomas E.
Proctor Heirs Trust and Trustees of the Margaret O.F. Proctor Trust (collectively,
the “Proctor Trusts”), identify the following undisputed material facts in support of
their Motion for Partial Summary Judgment:
      1.       By warrant dated January 22, 1793, the Commonwealth of
Pennsylvania warranted a tract of land then located in Northumberland County to

Josiah Haines (the “Josiah Haines Warrant”). See Full Abstract for Josiah Haines
Warrant #659 (“Percheron Title Report”), Ex. 1, 1 at PGCP013636, PGCP013651-
56; Title of Central Pennsylvania Lumber Company to Nineteen Warrants or Parts

      1
        Exhibit references are to the exhibits in the Appendix; numbered exhibits
are contemporaneous documents, and exhibits identified with letters are witness
declarations and deposition transcripts. Contemporaneous documents included in
the appendix are authenticated through the declarations and deposition transcripts
included in the Appendix.
                                          1
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 2 of 30




of Warrants Containing 7704.8 Acres (“L-2 Title Report”), Ex. 2, at PGCP002759,
PGCP002774.

      2.     By patent dated June 27, 1794, the Commonwealth subsequently
conveyed the Josiah Haines Warrant (also known as “Trap”), patented at 407¾
acres, to Daniel Brodhead. See Percheron Title Report, Ex. 1, at PGCP013635-36,
PGCP013657-58; L-2 Title Report, Ex. 2, at PGCP002759, PGCP002774-75.
      3.     The Josiah Haines Warrant is located in what is now LeRoy
Township, Bradford County. See, e.g., Percheron Title Report, Ex. 1, at

PGC013588.
      4.     Through a series of conveyances, Schrader Mining & Manufacturing
Co. acquired ownership of the Josiah Haines Warrant. See Percheron Title Report,
Ex. 1, at PGCP013632-33, PGCP013872-76; L-2 Title Report, Ex. 2, at
PGCP002817-20.
      5.     By deed dated June 5, 1893, Schrader Mining & Manufacturing Co.
conveyed the Josiah Haines Warrant to Thomas E. Proctor and Jonathan A. Hill.
See Percheron Title Report, Ex. 1, at PGCP013632, PGCP013878-81; L-2 Title
Report, Ex. 2, at PGCP002819-20.
      6.     It was the routine practice of Thomas E. Proctor and Proctor & Hill to
notify county commissioners when they became owners of interests in tracts of
unseated land, pursuant to the Act of March 28, 1806, P.L. 644. Following this
practice, after their purchase of the Josiah Haines Warrant, Messrs. Proctor and
Hill notified the Bradford County Commissioners of their interest in the tract. See
infra ¶¶ 6.a-d. See also infra ¶¶ 7, 12, 16.

                                           2
 Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 3 of 30




      a.     Bradford County assessment records contain entries indicating
that taxes on unseated land on certain parcels owned by Messrs. Proctor and

Hill were paid by “Proctor and Hill,” indicating to the County
Commissioners that Proctor and Hill claimed an ownership interest in these
properties. See List of Unseated Lands in the County of Bradford and the
Taxes Assessed Thereon (“Bradford County Assessment Book”), Ex. 3, at
108-11, 118-21, 128-31, 139-41, 154-61, 164-67, 170-71, 174-77, 180-81,
184-87, 190-91, 194-97, 200-01, Ex. 3.

      b.     Following enactment of the Act of March 30, 1897, P.L. 11,
which required tax sale notices beginning January 1, 1898 to identify “the
names of the owners if known,” Bradford County assessment records started
to include a notation as to the owner of unseated lands. As a result, starting
in 1898, properties still owned at the time by Messrs. Proctor and Hill,
including properties included in the deed from Schrader Mining &
Manufacturing Co., were identified with the penciled notation “P+H” or
“P+Hill.” See, e.g., Bradford County Assessment Book, Ex. 3, at 184-87,
190-91, 194-97, 200-01, 204-07, 214-17, 220-21, 224-27, 230-31.
      c.     Township assessment records for LeRoy Township reflect
assessments of unseated land in the names of Proctor & Hill. Percheron
Title Report, Ex. 1, at PGCP14174-91.
      d.     The record in the Pennsylvania Supreme Court appeal in
Gamble & Green v. Central Pennsylvania Lumber Co., No. 345 January
Term, 1907, contains testimony concerning the business practices of Thomas

                                   3
 Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 4 of 30




E. Proctor and Elk Tanning Company, specifically with respect to 1893
taxes for a particular parcel in Lewis and Cogan House Townships,

Lycoming County, Pennsylvania:
            (1)    Elk Tanning Company and Union Tanning Company
      were both subsidiaries of United States Leather Company. See John
      Moody, The Truth About the Trusts: A Description & Analysis of the
      American Trust System, Ex. 4, at 281 (1904); Thomas T. Tabor, III,
      Sunset Along Susquehanna Waters, Ex. 5, § 8.3 (1972), at 490.

            (2)    Elk Tanning Company tax agent S.A. Rote testified that
      his duties in Spring 1894 included the payment of taxes on unseated
      land for Elk Tanning Company and Thomas E. Proctor, and in that
      capacity contacted B.S. Bentley, Mr. Proctor’s attorney, to get
      information about the taxes he was obligated to pay on Mr. Proctor’s
      holdings. Paper Book of Appellants, Gamble v. Central Pa. Lumber
      Co. (“Gamble Paper Book”), Ex. 6, Appendix at 178-81, 188-89.
            (2)    Mr. Rote further testified that he thereafter traveled to
      Williamsport, consulted with Asher Updegraff (an official in the
      Lycoming County Treasurer’s office) on the Proctor/Elk Tanning
      tracts one-by-one, including their acreages and the taxes due on each,
      and paid the taxes. Gamble Paper Book, Ex. 6, Appendix at 182-85,
      187-88.
            (3)    Mr. Rote further testified that, as part of its business
      activities, Elk Tanning Company compiled a “tax book” containing its

                                   4
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 5 of 30




    property tax information. For 1893, that was a bound volume; for later
    years, it was a collection of individual leaves later bound together.

    Gamble Paper Book, Ex. 6, Appendix at 182-84.
           (4)   S.B. Bentley testified that he served as counsel for
    Thomas E. Proctor for 25 years prior to Mr. Proctor’s death, looked
    after Mr. Proctor’s unseated lands, and in that capacity reviewed
    assessments of unseated land “many, many times.” Gamble Paper
    Book, Ex. 6, Appendix at 189-90, 194-95.

           (5)   Mr. Bentley further testified that in his capacity as
    attorney for Mr. Proctor he received a request from Calvin H.
    McCauley, General Solicitor of the Elk Tanning Company, asking Mr.
    Bentley to prepare a statement of taxes. Gamble Paper Book, Ex. 6,
    Appendix at 189-91.
           (5)   Mr. Bentley further testified that he therefore contacted
    Asher Updegraff, deputy to the Lycoming County Treasurer, and
    asked for a statement of the taxes for 1893 upon the lands of Thomas
    E. Proctor; that Mr. Updegraff prepared a statement of taxes; and that
    Mr. Bentley checked this statement to ensure that every tract was
    included. Gamble Paper Book, Ex. 6, Appendix at 192-93, 195-96,
    198.
           (6)   Records in the Gamble matter listed Thomas E. Proctor
    as the owner of unseated lands. See Gamble Paper Book, Ex. 6,
    Appendix at 200-01, 202, 204-05.

                                 5
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 6 of 30




      7.     The fact that correspondence notifying the Bradford County
commissioners of interests in unseated land appears to have been lost or discarded,

is not evidence that there were no such notifications provided by persons becoming
owners of unseated land. The prevailing practice was to record notified changes in
ownership given to the County commissioners in assessment records, and to
discard the correspondence reflecting such changes. See infra ¶ 7.a-d; see also
supra ¶ 6 and infra ¶¶ 10, 12, 16.
             a.    By letter dated December 14, 1920, the Board of Game

      Commissioners (through John E. Potter, Examiner of Titles to the Board of
      Game Commissioners) sent a letter to the Commissioners of Bradford
      County, reporting that the Commonwealth of Pennsylvania had purchased
      certain tracts of land (including the Josiah Haines Warrant) from Central
      Pennsylvania Lumber Company (“CPLC”), and requesting that the
      properties be removed from the list of properties assessed for taxation. L-2
      Title Report, Ex. 2, at PGCP002883-84.
             b.    By letter dated May 2, 1921, Attorney Leighton Campbell
      wrote to Mr. Potter, confirming that Mr. Campbell had “served Notice on the
      County Commissioners to remove the tracts from the list of properties
      assessed for taxation.” L-2 Title Report, Ex. 2, at PGCP002888.
             c.    Thereafter, the 1921 assessment records indicated the owners of
      these tracts as the Commonwealth of Pennsylvania. See List of Unseated
      Lands in the County of Bradford and the Taxes Assessed Thereon, Ex. 7,
      148-51, 154-55.

                                         6
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 7 of 30




            d.     There are no such notices of any sort contained in the office of
      the Recorder and Register of Deeds for Bradford County, in the Bradford

      County Historical Society, or in the Pennsylvania State Archives. See
      Declaration of Henry Farley, Ex. B; Declaration of Shirley Rockefeller, Ex.
      F; Affidavit of Jonathan Stayer, Ex. I.
      8.    By deed dated October 27, 1894 (the “Union Tanning Deed”),
Thomas E. Proctor and his wife Emma H. Proctor, and Jonathan A. Hill and his
wife Lucy M. Hill, conveyed certain interests with respect to the Josiah Haines

Warrant to Union Tanning Co. See Percheron Title Report, Ex. 1, at
PGCP013598, PGCP013632, PGCP013882-96; L-2 Title Report, Ex. 2, at
PGCP002820-21.
      9.    The Union Tanning Deed provides that:

            And the same grantors herein Thomas E. Proctor and
            Jonathan A. Hill hereby expressly reserve, and save to
            themselves their heirs and assigns, all the minerals, coal,
            oil, gas, or petroleum found now or hereafter, on or under
            the surface of any or all of the lands described in each of
            the above mentioned parts or divisions, and conveyed by
            this Indenture, together with the right and privilege of
            ingress, egress, and regress upon said lands for the
            purpose of operating or developing, working, or
            removing the same.
See Percheron Title Report, Ex. 1, at PGCP013632, PGCP013894; see also L-2

Title Report, Ex. 2, at PGCP002821.
      10.   It was the routine practice of Union Tanning Company to notify
county commissioners when it became the owner of interests in tracts of unseated


                                         7
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 8 of 30




land, pursuant to the Act of March 28, 1806, P.L. 644. Following this practice,
after its purchase of the certain interests in the Josiah Haines Warrant, Union

Tanning Company notified the Bradford County Commissioners of its interest in
the tract, and Union Tanning Company paid taxes assessed against the Josiah
Haines Warrant. See infra ¶ 10.a-c; see also supra ¶¶ 6-7 and infra ¶¶ 12, 16.
             a.     Bradford County assessment records contain entries indicating
      that taxes on unseated land on certain parcels owned by Union Tanning
      Company were paid by “Union Tanning Co.,” indicating to the County

      Commissioners that Union Tanning Company claimed an ownership interest
      in these properties. See Bradford County Assessment Book, Ex. 3, at 144-
      51, 154-61, 164-67, 170-77, 180-87, 190-97, 200-07, 210-17, 220-21, 224-
      27, 230-31.
             b.     Following enactment of the Act of March 30, 1897, P.L. 11,
      which required tax sale notices beginning January 1, 1898 to identify “the
      names of the owners if known,” Bradford County assessment records started
      to include a notation as to the owner of unseated lands. As a result, starting
      in 1898, properties reported by Union Tanning Company were identified
      with the penciled notation “U.T.,” “U.T.C.” or “U.T.Co.” Bradford County
      Assessment Book, Ex. 3, at 184-97, 200-07, 210-17, 220-21, 224-27, 230-
      31, 236-39, 242-43.
             c.     It was the regular practice of United States Leather Company
      subsidiary companies to report their ownership interests in unseated lands
      pursuant to the Act of March 28, 1806, P.L. 644, and to pay taxes assessed

                                          8
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 9 of 30




      upon unseated lands. For example, records in the Gamble matter listed Elk
      Tanning Company as the owner of unseated lands and reflected payment of

      taxes on behalf of Elk Tanning Company as assessed. See Gamble Paper
      Book, Ex. 6, Appendix at 204-05, 213-22.
      11.    There is no evidence that Union Tanning Company incorrectly
reported that it owned the full fee simple interest in all estates associated with the
Josiah Haines Warrant, including the subsurface estates. See Declaration of Paul
K. Stockman (“Stockman Dec.”), Ex. J, ¶ 23.

      12.    The severance of the subsurface interest, and Thomas E. Proctor’s
exception and reservation of subsurface interests, was reported to Lycoming
County tax officials. See infra ¶ 12.a-b. See also supra ¶¶ 6-7 and infra ¶ 16.
             a.     In particular, the Commonwealth has stipulated that:

                    For each of the relevant years, 1908 through 1926, during
             which the tax sales of the surface estates took place, the
             Lycoming County Tax Assessor’s records for McIntyre
             Township (Exhibits H through Z inclusive) contained a written
             statement by the Tax Assessor acknowledging the reservation
             of all minerals in Proctor Deed 144/398 in the following
             general form:
                    For a description of reserve of all minerals refer to
                    Recorders office of Lycoming County in Deed Book 144
                    page 398.
      See Stipulation, Moore v. Commonwealth, Ex. 8, ¶ 19.

             b.     The Deed recorded in the Lycoming County deed records at
      volume 144, page 398, conveys certain Lycoming County properties from
      Thomas E. Proctor to Elk Tanning Company, but provides as follows:

                                           9
      Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 10 of 30




                   The said Thomas E. Proctor, however, expressly reserves
            from this grant, to himself, his heirs and assigns, all the natural
            gas, coal, coal oil, petroleum, marble and all minerals of every
            kind and character in, upon or under the said lands hereinbefore
            mentioned and described, and hereby conveyed, and every part
            thereof, or which may at any time hereafter be discovered in,
            upon or under said lands, or any part thereof . . . .
      Gamble Paper Book, Ex. 6, Appendix at 168-72.
      13.   By deed dated May 5, 1903 (the “Union-CPLC Deed”), the Union
Tanning Company conveyed certain interests with respect to the Josiah Haines

Warrant to CPLC. See Percheron Title Report, Ex. 1, at PGCP013598,
PGCP013631-32, PGCP013901-07; L-2 Title Report, Ex. 2, at PGCP002822-23.
      14.   The Union-CPLC Deed provides as follows:

            Reserving and excepting, nonetheless, unto the party of
            the first part, its successors, and assigns, all the hemlock
            bark, rock oak bark and chestnut oak bark upon said
            lands, timber and trees, with the rights of ingress, egress
            and regress for the purpose of cutting, peeling, curing,
            piling, storing and removing said bark in the usual and
            ordinary manner at any and all times within the period of
            twenty-five (25) years from the date hereof . . . .
See Percheron Title Report, Ex. 1, at PGCP013632, PGCP013904; see also L-2
Title Report, Ex. 2, at PGCP002823.
      15.   The Union-CPLC Deed further provides:

                   This deed is made, executed, delivered, and
            accepted for the purpose of vesting in the party of the
            second part, its successors and assigns, all the right, title,
            interest and estate but no greater than is now held and
            owned by the Union Tanning Company of, in, and to the
            lands hereinbefore mentioned and the timber, trees and
            wood thereon, subject to all the exceptions, reservations,

                                          10
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 11 of 30




             covenants, stipulations, agreements and conditions
             continued in the recent deeds hereinbefore recited, and
             subject also to all the exceptions, reservations, covenants,
             stipulations, agreements and conditions hereinbefore
             stated. . .
See Percheron Title Report, Ex. 1, PGCP013905; see also id. at PGCP013632; L-2
Title Report, Ex. 2, at PGCP002823.
      16.    It was the routine practice of CPLC to notify county commissioners
when it became the owner of interests in tracts of unseated land, pursuant to the
Act of March 28, 1806, P.L. 644. Following this practice, after its purchase of
certain interests in the Josiah Haines Warrant, CPLC notified the Bradford County
Commissioners of its interest in the tract, and paid taxes assessed against the Josiah

Haines Warrant. See infra ¶¶ 16.a-e. See also supra ¶¶ 6-7, 10, 12.
             a.    Bradford County assessment records contain entries indicating
      that taxes on unseated land on certain parcels owned by CPLC were paid by

      “C.P.L. Co.” or “Central Penna. Lumber Co.,” indicating to the County
      Commissioners that CPLC claimed an ownership interest in these properties.
      Bradford County Assessment Book, Ex. 3, at 236-39, 242-43, 248-51, 254-
      55, 260-63, 266-67, 272-75, 278-79, 284-87, 290-91.
             b.    Starting in 1907, Bradford County assessment records included
      notations indicating that the owner of interests in certain tracts, including the

      Josiah Haines Warrant, was “C.P.L. Co.” Bradford County Assessment
      Book, Ex. 3, at 284-87, 290-91 (including notation that “C.P.L. Co. means
      Central Pennsylvania Lumber Co.”).



                                         11
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 12 of 30




      c.     In 1907, several warrants were divided for taxation purposes,
including the Peter Z. Lloyd, Collinson Reed, James Simons, Robert

Hiltzhimer and Andrew Tybout warrants. Bradford County Assessment
Book, Ex. 3, at 286-87, 290-91. In 1907, under prevailing law at the time, a
single warrant could be divided for tax purposes only if the owner had
requested such a division. See Reading v. Finney, 73 Pa. 467, 47 (Pa. 1873).
Because it is presumed that the assessors acted in accordance with the law,
the only reasonable inference is that CPLC had requested that the tracts be

subdivided for tax purposes, and thus that CPLC had notified the County
commissioners of their interests in tracts of unseated land in Bradford
County.
      d.     Court records reflect that CPLC monitored the assessment and
payment of taxes on its land holdings:
             (1)   The record in In re Appeal F.H. & C.W. Goodyear and
      Central Pennsylvania Lumber Company, from Decision of County
      Commissioners, in which CPLC appealed certain assessments, states
      that the parties admitted that certain lands in Potter County “were
      assessed in the name of . . . Central Pennsylvania Lumber Company.”
      See Petition and Appeal, In re Appeal F.H. & C.W. Goodyear and
      Central Pennsylvania Lumber Company, No. 92, March Term, 1908,
      Ex. 9; Evidence, In re Appeal F.H. & C.W. Goodyear and Central
      Pennsylvania Lumber Company, No. 92, March Term, 1908, Ex. 10.



                                  12
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 13 of 30




             (2)    In In the Matter of the Appeal of the Central Penna.
      Lumber Co. from the Decision of the Commissioners of Potter County

      for the Year 1908, CPLC challenged the assessment of certain tracts
      of land in Potter County, taking the matter to the Pennsylvania
      Supreme Court. See Appeal of Central Pa. Lumber Co., 81 A. 204
      (Pa. 1911); Central Pa. Lumber Co.’s Appeal, 37 Pa. C.C. 605, 20 Pa.
      D. 187 (C.C.P. Potter C’ty 1910).
             (3)    The First Annual Report of the Central Pennsylvania

      Lumber Company for the Fiscal Year Ended December 31, 1903
      reflects the payment of taxes on “land and timber,” but not the
      payment of taxes on reserved subsurface interests. First Annual
      Report, Ex. 31.
      e.     In connection with the Commonwealth’s 1937 purchase of
certain lands located in Lewis Township, Lycoming County (“SGL 133”),
the Commonwealth, as part of its title examination, obtained an affidavit
from R.G. Brownell, the President of CPLC. In that affidavit, Mr. Brownell
states (i) that “in May, 1903, the Central Pennsylvania Lumber Company
acquired from Elk Tanning Company a large tract of land in Lycoming
County, Pennsylvania, including” the lands at issue in that transaction,
which CPLC sold to third parties in 1924; and (ii) “that during the said
period said Central Pennsylvania Lumber Company regularly and
continuously paid all taxes assessed and payable upon said . . . tract . . . .”



                                    13
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 14 of 30




      Exhibit A to Complaint, Pa. Game Comm’n v. Thomas E. Proctor Heirs
      Trust, No. 493 MD 2017 (Pa. Commw.), Ex. 11, at 159-60.

      17.    There is no evidence that CPLC incorrectly reported that it owned the
full fee simple interest in all estates associated with the Josiah Haines Warrant,
including the subsurface estates. See Stockman Dec., Ex. J, ¶ 24.
      18.    In 1905, tanbark was harvested from 60 acres of the Josiah Haines
Warrant, yielding 300,900 net tons of bark, utilizing the services of Laquin Lumber
Co. as bark jobber. This yielded 189,500 feet of hemlock lumber, sent to Schrader

Mill. See CPLC Ledger Folio 135-1, Ex. 12; see also CPLC Plat for Josiah Haines
Warrant, Ex. 13.
      19.    In 1906, tanbark was harvested from 201 acres of the Josiah Haines
Warrant, yielding 1,000,000 net tons of bark, utilizing the services of Laquin
Lumber Co. as bark jobber. See CPLC Ledger Folio 135-1, Ex. 12; see also CPLC
Plat for Josiah Haines Warrant, Ex. 13.
      20.    In 1907, tanbark was harvested from 149½ acres of the Josiah Haines
Warrant, yielding 104,300 net tons of bark, utilizing the services of Laquin Lumber
Co. as bark jobber. See CPLC Ledger Folio 135-1, Ex. 12; see also CPLC Plat for
Josiah Haines Warrant, Ex. 13.
      21.    For 1907, the interests in the Josiah Haines Warrant attributed to
CPLC were assessed by Bradford County as unseated land, and given a value of
$2,460. The following taxes were assessed against the Josiah Haines Warrant for
1907: county tax of $14.76, poor tax of $4.92, school tax of $8.61, road tax of



                                          14
      Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 15 of 30




$9.84, and township tax of $6.15. See Bradford County Assessment Book, Ex. 3,
at 286-87; L-2 Title Report, Ex. 2, at PGCP002824.

      22.   Taxes assessed against the interests in the Josiah Haines Warrant
attributed to CPLC for 1907 were not paid prior to June 8, 1908. See Bradford
County Assessment Book, Ex. 3, at 286-87; L-2 Title Report, Ex. 2, at
PGCP002824.
      23.   On June 8, 1908, the interest in the Josiah Haines Warrant attributable
to CPLC was sold by the W.F. Waters, the Treasurer of Bradford County at tax

sale, to recover unpaid 1907 taxes. See L-2 Title Report, Ex. 2, at PGCP002824-
27; Bradford County Assessment Book, Ex. 3, at 287.
      24.   The only notice given to any persons claiming an interest in the Josiah
Haines Warrant that the property was to be sold at Treasurer’s Sale for unpaid
taxes, prior to the June 8, 1908 tax sale, were advertisements in Bradford County
newspapers that did not identify current or former owners. See Reporter Journal
and Bradford Republican, Apr. 9, 1908, Ex. 14; Reporter Journal and Bradford
Republican, Apr. 16, 1908, Ex. 15; Reporter Journal and Bradford Republican,
Apr. 23, 1908, Ex. 16; Reporter Journal and Bradford Republican, Apr. 30, 1908,
Ex. 17; The Bradford Argus, Apr. 9, 1908, Ex. 18; The Bradford Argus, Apr. 16,
1908, Ex. 19; The Bradford Argus, Apr. 23, 1908, Ex. 20; The Bradford Argus,
Apr. 30, 1908, Ex. 21; The Bradford Argus, May 7, 1908, Ex. 22; The Bradford
Argus, May 14, 1908, Ex. 23; The Bradford Argus, May 21, 1908, Ex. 24; The
Bradford Argus, May 28, 1908, Ex. 25; The Bradford Argus, June 4, 1908, Ex. 26.



                                        15
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 16 of 30




      25.       At the June 8, 1908 tax sale, the purchaser of the interest in the Josiah
Haines Warrant attributed to CPLC was Calvin H. McCauley, Jr. (“McCauley”).

L-2 Title Report, Ex. 2, at PGCP002823; Bradford County Assessment Book, Ex.
3, at 286-87.
      26.       As of June 8, 1908, McCauley was an agent of CPLC.
                a.    On April 29, 1903, CPLC prepared articles of incorporation that
      listed McCauley as “Treasurer.” Abstract of Title, Ex. 27, at PGPC002127;
      Articles of Incorporation, Ex. 28; Microfilm Copy of Articles of

      Incorporation, Ex. 29;
                b.    On May 22, 1903, the Deputy Secretary of the Commonwealth
      provided notice of CPLC’s incorporation to the Auditor General of
      Pennsylvania, listing McCauley as CPLC’s Treasurer. See Certificate of
      Incorporation, May 22, 1903, Ex. 30.
                c.    The First Annual Report of the Central Pennsylvania Lumber
      Company for the Fiscal Year Ended December 31, 1903 lists “Calvin H.
      M’Cauley, Jr.” as “Real Estate Agent.” First Annual Report, Ex. 31.
                d.    On April 23, 1904, a letter was sent to “Mr. C. H. M’Cauley,
      Jr., R.E. Agt., C. P. L. Company, Williamsport, Pa.,” in reply to a letter from
      McCauley. Letter from F.W. Simmons to McCauley, Apr. 23, 1904, Ex. 32.
                e.    On September 4, 1905, Mr. A.E. Borcher, Woods Foreman,
      sent a letter to “Mr. C.H. M’Cauley, Jr., Real Estate Agent, Williamsport,
      Penna.” relating to the “amount of bark and timber removed from the



                                            16
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 17 of 30




Alexander McMullen warrant by the C.P.L. Co. . . .” Letter from A.E.
Borcher to McCauley, Sept. 4, 1905, Ex. 33.

      f.    On December 19, 1905, Mr. W. E. Henderson, CPLC Land and
Timber Superintendent, sent a letter to “Mr. C.H. McCauley, Jr., Real Estate
Agent, Williamsport, Pa.” on CPLC letterhead. This letter bears a stamp
indicating that it was received by the “Central Penn’a Lum. Co. Real Estate
Dept.” on December 20, 1905. Letter from W.E. Henderson to McCauley,
Dec. 19, 1905, Ex. 34.

      g.    The 1906 edition of Boyd’s Directory of Williamsport lists
McCauley as “real estate agt” at the same address as CPLC’s business. See
BOYD’S DIRECTORY OF WILLIAMSPORT 1906 at 147, 320, Ex. 35.

      h.    The 1907 edition of Boyd’s Directory of Williamsport lists
McCauley as “attorney” at the same address as CPLC’s business. See
BOYD’S DIRECTORY OF WILLIAMSPORT 1907 at 147, 316, Ex. 36.

      i.    The 1908 edition of Boyd’s Directory of Williamsport lists
McCauley as “asst gen solicitor” at the same address as CPLC’s business.
See BOYD’S DIRECTORY OF WILLIAMSPORT 1908 at 149, 323, Ex. 37.

      j.    On May 5, 1908, McCauley notarized the verification of F.W.
Simmons, CPLC President, in In the Matter of the Appeal of the Central
Penna. Lumber Co. from the Decision of the Commissioners of Potter

County for the Year 1908. See Petition and Appeal, In re Appeal of Central
Pa. Lumber Co., No. 179, June Term, 1908, Ex. 38.



                                 17
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 18 of 30




      k.       The 1909 edition of Boyd’s Directory of Williamsport lists
McCauley as “attorney” at the same address as CPLC’s business (residing at

754 Grace Street). See BOYD’S DIRECTORY OF WILLIAMSPORT 1909 at 149,
326, Ex. 39.
      l.       On February 8, 1910, McCauley appeared at a hearing in the
Potter County Court of Common Pleas as an attorney for CPLC in In re
Appeal F.H. & C.W. Goodyear and Central Pennsylvania Lumber Company,
from Decision of County Commissioners. See Evidence, In re Appeal F.H.

& C.W. Goodyear and Central Pennsylvania Lumber Company, No. 92,
March Term, 1908, Ex. 10. See also Goodyear’s Appeal, 37 Pa. C.C. 577
(C.C.P. Potter C’ty 1910) (noting McCauley’s appearance for CPLC).
      m.       On February 9, 1910, McCauley appeared at a hearing in the
Potter County Court of Common Pleas as an attorney for CPLC in In the
Matter of the Appeal of the Central Penna. Lumber Co. from the Decision of
the Commissioners of Potter County for the Year 1908. See Evidence, In re
Appeal of Central Pa. Lumber Co., No. 179, June Term, 1908, Ex. 40. See
also Central Pa. Lumber Co.’s Appeal, 37 Pa. C.C. 605, 20 Pa. D. 187

(C.C.P. Potter C’ty 1910) (noting McCauley’s appearance for CPLC).
      n.       On April 12, 1910, a census-taker for the decennial United
States Census completed a schedule for Williamsport, Pennsylvania listing
McCauley and his family at their residence at 754 Grace Street. The census-
taker listed McCauley’s “trade or profession” as “Lawyer,” and the “general



                                    18
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 19 of 30




nature of industry, business, or establishment in which this person works” as
“Lumber Co.” 1910 Manuscript census schedule, Ex. 51.

      o.     On September 8, 1910, McCauley appeared as counsel for
CPLC, as appellant, in the Pennsylvania Supreme Court, and submitted a
writ of certiorari in In the Matter of the Appeal of the Central Pennsylvania
Lumber Company from the Decision of the Commissioners of Potter County
for the Year 1908. See Certiorari, In re Appeal of Central Pa. Lumber Co.,
No. 273, January Term, 1910, Ex. 41. See also Appeal of Central Pa.

Lumber Co., 81 A. 204 (Pa. 1911) (noting McCauley’s appearance for
CPLC); Paper Book of Appellants, In re Appeal of Central Pa. Lumber Co.,
No. 273, January Term, 1910, Ex. 42.
      o.     On November 2, 1914, McCauley, Jr. executed a notarized
declaration stating the following:

            TO ALL TO WHOM THESE PRESENTS SHALL
      COME, I, CALVIN H. M’CAULEY, JR., of the City of
      Williamsport, County of Lycoming and State of Pennsylvania,
      send Greeting:
             WHEREAS, WILLIAM SIMONS, Treasurer of Elk
      County, by six certain deeds bearing date the eighth day of June
      in the year of our Lord one thousand nine hundred and fourteen
      (1914) . . . did for the consideration of Six Hundred and Eighty-
      five and 38/100 ($685.38) Dollars, grant and convey unto me,
      the said Calvin H. M’Cauley, Jr., and to my heirs and assigns,
      all those six (6) certain pieces, parcels or lots of land situate in
      Elk County, Pennsylvania . . . .

             NOW, KNOW YE, THAT I, CALVIN H. M’CAULEY,
      JR., do hereby acknowledge and declare that the said amount of
      Six Hundred and Eighty-five and 38/100 ($685.38) Dollars,

                                     19
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 20 of 30




      consideration money as aforesaid, was and is the proper money
      of the Central Pennsylvania Lumber Company, a corporation
      organized and existing under the laws of the State of
      Pennsylvania, and that my name in the said deeds is used only
      in trust for it, the said Central Pennsylvania Lumber Company,
      its successors and assigns, and for no other uses, trusts or
      purposes whatsoever, and that I, my heirs, executors, and
      administrators, shall and will, at any time hereafter, upon the
      request and at the proper costs and charges of the Central
      Pennsylvania Lumber Company, its successors and assigns,
      assign by good and sufficient assignment the said deeds for the
      said premises, together with all my right, title and interest
      therein, free from all incumbrances imposed thereon by me, in
      such manner as it, the said Central Pennsylvania Lumber
      Company, its successors and assigns, by its counsel, learned in
      the law, shall be reasonably required. . . .
Declaration of Trust, Ex. 43. See also Appendix, Proctor v. Sagamore Big
Game Club, No. 12715 (3d Cir.), Ex. 44, at 108a.

             (1)   There is no evidence in the record to suggest that such a
      declaration was prepared solely for properties in Elk County sold in
      1914. See Stockman Dec., Ex. J, ¶ 25.
             (2)   The only reasonable inference is that McCauley prepared
      similar declarations for each of the CPLC properties he purchased at
      tax sale.
      p.     On March 27, 1916, a letter was sent by CPLC, on CPLC
letterhead, to Mr. L.M. Otto, Jr., Assistant Engineer, Building. The
engraved letterhead indicates that the letter is from “Calvin H. McCauley,

Jr., Assistant General Solicitor,” and is signed by Calvin H. McCauley, Jr.,




                                  20
Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 21 of 30




“Assistant General Solicitor.” Letter from McCauley to L.M. Otto, Jr., Mar.
27, 1916, Ex. 45.

      q.     On May 15, 1916, a letter was sent by CPLC, on CPLC
letterhead, to Mr. L.M. Otto, Jr., Building, asking Mr. Otto to “fix our map
books” according to a property description contained in the letter. The
engraved letterhead indicates that the letter is from “Calvin H. McCauley,
Jr., Assistant General Solicitor,” and is signed by Calvin H. McCauley, Jr.,
“Assistant General Solicitor.” Letter from McCauley to L.M. Otto, Jr., May

15, 1916, Ex. 46.
      r.     On April 4, 1917, the Williamsport Sun-Gazette reported that
CPLC had, at its regular annual meeting on April 3, 1917, elected McCauley
as a director and as “junior assistant general solicitor.” Williamsport Sun-
Gazette, Apr. 4, 1917, Ex. 47.
      s.     On May 21, 1937, the Commonwealth purchased the lands
comprising SGL 133 that were formerly owned by CPLC. Certain of the
parcels comprising the SGL 133 purchase were sold to McCauley by the
Treasurer of Lycoming County on June 25, 1908, and were subsequently
quitclaimed by McCauley and his wife to CPLC. The PGC’s title
compilation for SGL 133 includes “Notes of Examination” prepared by E.
Bruce Taylor, “Abstractor, Board of Game Commissioners.” The “Notes of
Examination” state that McCauley, in purchasing properties at the 1908 tax
sale, “apparently was acting for the Central Pennsylvania Lumber



                                   21
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 22 of 30




      Company.” Exhibit A to Complaint, Pa. Game Comm’n v. Thomas E.
      Proctor Heirs Trust, No. 493 MD 2017 (Pa. Commw.), Ex. 11, at 80, 150.

             t.     On September 6, 1957, a Stipulation was executed by counsel
      for the Plaintiffs and Defendants in Thomas E. Proctor, 2nd, et al. v. The
      Sagamore Big Game Club, et al., Civil Action No. 432-Erie (W.D. Pa.) (the
      “Sagamore Case”), stipulating that “Calvin H. McCauley, Jr., was
      continuously during the years 1912 to 1916, both inclusive, a member of the
      Board of Directors of Central Pennsylvania Lumber Company, its Assistant

      General Counsel and its Real Estate Agent . . . .” Stipulation, Ex. 48.
      27.    Throughout the period from 1904-1916, Calvin H. McCauley, Jr.
purchased, at tax sales, CPLC’s interests in more than 100 properties. See, e.g.,
Percheron Title Report, Ex. 1, at PGCP013917-20 (including McCauley deed
quitclaiming 45 Bradford County tracts to CPLC); Abstract of Title, Ex. 27, at
PGPC002134-66 (including McCauley deed quitclaiming 60 Sullivan County
tracts to CPLC); Exhibit A to Complaint, Pa. Game Comm’n v. Thomas E. Proctor
Heirs Trust, No. 493 MD 2017 (Pa. Commw.), Ex. 11, at 78-80 (including
McCauley deed quitclaiming 56 Lycoming County tracts to CPLC); Declaration of
Trust, Ex. 43 (relating to 6 tracts in Elk County).
      28.    There is no evidence in the record that Calvin H. McCauley, Jr.
renounced his status as an agent of CPLC prior to June 8, 1908. See Stockman
Dec., Ex. J, ¶ 26; see also supra ¶ 26.
      29.    As of June 8, 1908, CPLC knew that “A tax title cannot be sustained
where it appears by the books of the Treasurer and by other records that an agent

                                          22
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 23 of 30




of the owners of unseated land bought in the land at tax sale . . . and that before the
majority of the deed paid the taxes, and that these had been accepted by the

Treasurer.” Gamble Paper Book, Ex. 6, Argument at 55 (quoting Knupp v. Syms,
50 A. 210 (Pa. 1901)).
      30.    Calvin H. McCauley did not record a treasurer’s deed conveying to
him the Josiah Haines Warrant. See Percheron Title Report, Ex. 1, PGCP013631.
      31.    By deed dated December 6, 1910, Calvin H. McCauley, Jr. and
Florence M. McCauley, in consideration of a payment of $1.00, “grant[ed],

remise[d], release[d] and quit-claim[ed]” to CPLC “[a]ll their right, title, interest
and estate of, in, and to” forty-five parcels, including the Josiah Haines Warrant.
See Percheron Title Report, Ex. 1, at PGCP013917-20; see also id. at
PGCP013631; L-2 Title Report, Ex. 2, at PGCP002830-31.
      32.    From June 6, 1908 through December 6, 1910, CPLC acted as though
it retained ownership of the Josiah Haines Warrant.
             a.     Bradford County assessment records contain entries indicating
      that 1908, 1909 and 1910 taxes on parcels purchased by McCauley at the
      1908 tax sale, including the Josiah Haines Warrant, were paid by “C.P.L.
      Co.” or “Central Pa. Lumber Co.” Bradford County Assessment Book, Ex.
      3, at 296-301, 304-05; List of Unseated Lands in the County of Bradford and
      the Taxes Assessed Thereon, Ex. 7, at 2-5, 8-9, 14-17, 20-21. See also
      Exhibit A to Complaint, Pa. Game Comm’n v. Thomas E. Proctor Heirs
      Trust, No. 493 MD 2017 (Pa. Commw.), Ex. 11, at 159-60 (affidavit of
      CPLC President R.G. Brownell, attesting “that during the said period said

                                          23
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 24 of 30




      Central Pennsylvania Lumber Company regularly and continuously paid all
      taxes assessed and payable upon said . . . tract”).

             b.    The R.G. Brownell affidavit, submitted in connection with the
      Commonwealth’s 1937 purchase of the properties comprising SGL 133,
      stated (i) that “in May, 1903, the Central Pennsylvania Lumber Company
      acquired from Elk Tanning Company a large tract of land in Lycoming
      County, Pennsylvania, including” the lands at issue in that transaction,
      which CPLC sold to third parties in 1924; and (ii) “that during said period

      said Central Pennsylvania Lumber Company had exclusive possession of
      said . . . tract and its title thereto and possession thereof was never
      questioned, attacked or threatened by any one . . . .” Exhibit A to
      Complaint, Pa. Game Comm’n v. Thomas E. Proctor Heirs Trust, No. 493
      MD 2017 (Pa. Commw.), Ex. 11, at 159-60.
      33.    By lease dated April 21, 1916, Central Pennsylvania Lumber
Company leased to the Commonwealth of Pennsylvania certain tracts of land,
including the Josiah Haines Warrant, for the purpose of establishing a state game
reserve. See L-2 Title Report, Ex. 2, at PGCP002845-46.
      34.    On or about March 24, 1920, CPLC and the Commonwealth of
Pennsylvania entered into a contract for sale of certain properties, including the
Josiah Haines Warrant, from CPLC to the Commonwealth. See L-2 Title Report,
Ex. 2, at PGCP002842-44.
      35.    The agreement for sale from CPLC to the Commonwealth provided in
part as follows:

                                          24
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 25 of 30




                    RESERVING AND SAVING unto Thomas E.
             Proctor and Jonathan A. Hill, their heirs and assigns, all
             the minerals, coal, oil gas or petroleum found now or
             hereafter on, or under the surface of any or all of the
             lands described in each of the above mentioned parts or
             divisions; together with the right and privilege of ingress,
             egress and regress upon said lands for the purpose of
             prospecting for, or developing, working or removing the
             same, as fully as the said minerals and rights were
             excepted and reserved in deed dated Oct. 27, 1894 from
             Thomas E. Proctor et al to the Union Tanning Company,
             recorded in the office for recording deeds in Bradford
             County in deed book Vol. 205, page 436.

                    The deed would be subject to all the reservations,
             exceptions, covenants and stipulations contained in said
             recited deed from Thos. E. Proctor, et al to the Union
             Tanning Company, and in deed from the Union Tanning
             Company to the Central Pennsylvania Lumber Company
             dated May 25, 1903, recorded in the office for recording
             deeds in Bradford County in Deed Book 251, page 520,
             on June 11, 1913.
See L-2 Title Report, Ex. 2, at PGCP002843-44.
      36.   CPLC’s Board of Directors, by resolution dated April 6, 1920,
approved the sale of property to the Commonwealth, including the Josiah Haines
Warrant, and the execution of a special warranty deed for the subject properties
containing “a complete description of said lands together with all exceptions,

reservations, covenants and stipulations to be embodied in said deed as follows,”
including the following reservation:

                  RESERVING AND SAVING unto Thomas E.
            Proctor and Jonathan A. Hill, their heirs and assigns, all
            the minerals, coal, oil gas or petroleum found now or
            hereafter on, or under the surface of any or all of the
            lands described in each of the above mentioned parts or

                                         25
      Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 26 of 30




            divisions; together with the right and privilege of ingress,
            egress and regress upon said lands for the purpose of
            prospecting for, or developing, working or removing the
            same, as fully as the said minerals and rights were
            excepted and reserved in deed dated Oct. 27th., 1894
            from Thomas E. Proctor et al to the Union Tanning
            Company, recorded in the office for recording deeds in
            Bradford County in deed book Vol. 205, page 436.
                   Also subject to all the reservations, exceptions,
            covenants and stipulations contained in said recited deed
            from Thomas E. Proctor et al to the Union Tanning
            Company, and in deed from the Union Tanning Company
            to the Central Pennsylvania Lumber Company, above
            recited, dated May 25, 1903, of record as aforesaid in
            deed book Vol. 251 page 520.
See L-2 Title Report, Ex. 2, at PGCP002823.
      37.   By deed dated December 14, 1920 (the “CPLC-PGC Deed”), CPLC

conveyed to the Commonwealth 7,492.9 acres of land, including the Josiah Haines
Warrant. See Percheron Title Report, Ex. 1, at PGCP013922-27; see also id. at
PGCP013631; L-2 Title Report, Ex. 2, at PGCP002873-82.
      38.   The CPLC-PGC Deed provided as follows:

                   This conveyance is made subject to all the
            minerals, coal, oil, gas or petroleum found now or
            hereafter on, or under the surface of any or all of the
            lands above described in each of the above mentioned
            parts or divisions; together with the right and privilege
            o[f] ingress, egress and regress upon said lands for the
            purpose of prospecting for, or developing, working or
            removing the same, as fully as the said minerals and
            rights were excepted and reserved in deed dated Oct. 27,
            1894 from Thomas E. Proctor et al to the Union Tanning
            Company, recorded in the office for recording deeds in
            Bradford County in deed book Vol. 205, page 436.

                                        26
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 27 of 30




                    Also subject to all the reservations, exceptions,
             covenants and stipulations contained in said recited deed
             from Thomas E. Proctor et al to the Union Tanning
             Company, and in deed from the Union Tanning Company
             to the Central Pennsylvania Lumber Company, above
             recited, dated May 25, 1903, of record as aforesaid in
             deed book Vol. 251 page 520.
See Percheron Title Report, Ex. 1, PGCP013922-27; see also id. at PGCP013631;
L-2 Title Report, Ex. 2, at PGCP002881.
      39.    In connection with the December 14, 1920 purchase of properties

from CPLC, including the Josiah Haines Warrant, the Board of Game
Commissioners retained John E. Potter to examine the titles of the properties in
advance of the conveyance. See L-2 Title Report, Ex. 2, at PGCP002842-47;
Letter from Potter to Seth E. Gordon, Jan. 11, 1921, Ex. 49 (pages 117-118 of the
L-2 Title Report, which were withheld by Plaintiff in their production of the
document in discovery).
      40.    By letter dated November 22, 1920, Mr. Potter sent a letter to CPLC
reporting on his title examination. After reciting the exceptions and reservations
quoted in paragraph 34 above, as set forth in the agreement for sale, Mr. Potter
stated that “[i]n the preparation of this report, therefore, no references are made to
any exceptions, reservations or adverse conveyances which are included in the
above exceptions contained in the agreement for sale.” Mr. Potter signed his letter
as “Examiner of Titles to the Board of Game Commissioners.” L-2 Title Report,
Ex. 2, at PGCP002843-44.
      41.    Mr. Potter, in his November 22, 1920 letter, referred to a May 27,

1867 contract with Towanda Tanning Company and stated that “[s]atisfactory
                                          27
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 28 of 30




evidence must be furnished that all rights and privileges under this contract have
been long since abandoned.” L-2 Title Report, Ex. 2, at PGCP002845.

      42.    W.E. Rice, CPLC’s General Solicitor, wrote in response to
Mr. Potter’s November 22, 1920 letter by letter dated December 8, 1920. In
response to Mr. Potter’s inquiry about the contract with Towanda Tanning
Company, Mr. Rice wrote that the contract, together with all other property of
Towanda Tanning Company, was conveyed to Thomas E. Proctor. Mr. Rice did
not mention the 1908 tax sale to McCauley in his letter. L-2 Title Report, Ex. 2, at

PGCP002849-50.
      43.    On January 11, 1921, Mr. Potter wrote to Seth E. Gordon, Secretary
of the Board of Game Commissioners, stating that “I hereby certify that I have
made a careful examination of the record title of the Central Pennsylvania Lumber
Company to a certain tract of land,” including the Josiah Haines Warrant, “and find
the same to be now vested in the said Central Pennsylvania Lumber Company in
fee simple, free and clear of all encumbrances of record, except the reservations
expressly set forth in the Agreement for sale in this case.” Letter from Potter to
Seth E. Gordon, Jan. 11, 1921, Ex. 49.
      44.    There is no evidence that Thomas E. Proctor or any of his heirs sold
an interest in the Josiah Haines Warrant to the Commonwealth of Pennsylvania.
See Declaration of Charles Rice Kendall (“Kendall Dec.”), Ex. F, ¶ 6; Stockman
Dec., Ex. J, ¶ 27.
      45.    By deed dated December 30, 1924, Elk Tanning Company, as
successor-by-merger to Union Tanning Company, quitclaimed all of its rights in

                                         28
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 29 of 30




the Josiah Haines warrant to CPLC, as reserved in the Union-CPLC Deed. See
Percheron Title Report, Ex. 1, PGCP013929-30; see also id. at PGCP013631.

      46.    The Thomas E. Proctor Heirs Trust and Margaret O.F. Proctor Trust
are the heirs of Thomas E. Proctor. See Kendall Dec., Ex. F, ¶ 7.
      47.    The heirs of Thomas E. Proctor have been actively leasing the Josiah
Haines Warrant for oil and gas development since at least 1980. See Oil and Gas
Lease, Jan. 1, 1980, Ex. 50.

Dated: April 17, 2018           Respectfully submitted,

                                /s/ Paul K. Stockman
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                                        29
       Case 1:12-cv-01567-CCC Document 95 Filed 04/17/18 Page 30 of 30




                         CERTIFICATE OF SERVICE:

       I hereby certify that a true and correct copy of the foregoing was
electronically filed with the Clerk of Court today via the Court’s CM/ECF, and
that, pursuant to Local Civil Rule 5.7, participants in the case who are registered
ECF users will be served by the ECF system. Any persons so designated on the
ECF receipt will be served by first class mail.

Dated: April 17, 2018                  /s/ Paul K. Stockman




                                         30
